                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSE BUSANET,                           :   Honorable Michael M. Baylson
                                        :
            Plaintiff                   :
                                        :
      v.                                :   No. 21-4286
                                        :
JOHN WETZEL, et al.,                    :
                                        :
            Defendants                  :   Filed Via Electronic Case Filing

             DEFENDANTS’ MOTION TO TRANSFER PURSUANT
             TO LOCAL RULE 40.1(c)(2) AND 28 U.S.C. § 1404(a)

      Defendants, by and through the undersigned counsel, Joseph Fulginiti,

Assistant Counsel for the Pennsylvania Department of Corrections, hereby move

this Honorable Court to transfer this action currently pending in the Eastern

District of Pennsylvania to the Middle District of Pennsylvania pursuant to Local

Rule 40.1(c)(2) and 28 U.S.C. § 1404(a) for the reasons stated herein, and aver as

follows:

1.    Plaintiff is Jose Busanet, a death-sentenced prisoner presently incarcerated

      by the Commonwealth of Pennsylvania, Department of Corrections (“the

      Department”), at the State Correctional Institution at Phoenix (“SCI-

      Phoenix”).

2.    Plaintiff, like dozens of other death-sentenced prisoners confined at SCI-

      Phoenix, recently filed a lawsuit alleging violations of his rights under the

      Eighth and Fourteenth Amendments, as well as the Americans with
       Disabilities Act (“ADA”) associated with the conditions of his confinement

       in the Capital Case Unit (“CCU”). These cases have been filed in all federal

       districts of Pennsylvania. 1

3.     As Defendants the Plaintiff has named Former-Secretary of Corrections

       John Wetzel and the Pennsylvania Department of Corrections; the other

       identical actions filed by capital prisoners have named the same Defendants.

4.     As an individual currently or previously sentenced to death in the

       Commonwealth of Pennsylvania, Plaintiff is part of a class certified in the

       Middle District of Pennsylvania in Reid, et al., v. Wetzel, et al., 18-CV-0176

       (MDPA). See Reid, Docs. 27-29.

5.     Transfer and consolidation of this matter in the Middle District of

       Pennsylvania is appropriate for dual reasons.

6.     First, the principal place of business of both the Pennsylvania Department

       of Corrections and Former-Secretary Wetzel is the Central Office of the




1This case is part of a group of identical lawsuits filed by capital prisoners in all federal
districts of the Third Circuit. The following cases comprise this group: Boxley v. Wetzel,
et al., 21-4468 (EDPA); Busanet v. Wetzel, et al., 21-4286 (EDPA); Cash v. Wetzel, et al.,
21-4748 (EDPA); Clemons v. Wetzel, et al., 21-5232 (EDPA); Conforti v. Wetzel, et al., 21-
5293 (EDPA); Hackett v. Wetzel, et al., 21-5140 (EDPA); Hannibal v. Wetzel, et al., 21-
4732 (EDPA); Hicks v. Wetzel, et al., 21-4719 (EDPA); Hitcho v. Wetzel, et al., 21-5173
(EDPA); Johnson v. Wetzel, et al., 21-4857 (EDPA); Lopez, et al., v. Wetzel, et al., 21-1819
(MDPA); Marinelli, et al., v. Wetzel, et al., 21-5215 (EDPA); Morales v. Wetzel, et al., 21-
4765 (EDPA); Murphy v. Wetzel, et al., 21-4436 (EDPA); Natividad v. Wetzel, et al., 21-
4754 (EDPA); Padilla v. Wetzel, et al., 21-5083 (EDPA); Perez v. Wetzel, et al., 21-4796
(EDPA); Reid, et al., v. Wetzel, et al., 21-5108 (EDPA); Rivera v. Wetzel, et al., 21-4524
(EDPA); Robinson v. Wetzel, et al., 21-4844 (EDPA); Robinson v. Wetzel, et al., 21-4715
(EDPA); Spotz v. Wetzel, et al., 21-1799 (MDPA); Staton v. Wetzel, et al., 21-5016 (EDPA);
Stollar v. Wetzel, et al., 21-1515 (WDPA); Thomas v. Wetzel, et al., 21-4469 (EDPA).

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      Department of Corrections at 1920 Technology Parkway, Mechanicsburg,

      PA 17050, and within the Middle District.

7.    All Department policies, including those policies that impact the conditions

      of confinement in the CCU, are finalized and implemented there before

      being promulgated to local institutions.

8.    Second, the class of death-sentenced prisoners of which Plaintiff is a part

      remains active, as a settlement agreement was reached in that matter and is

      in the process of being implemented and monitored. See Reid, 18-CV-0176

      (MDPA).

9.    That suit similarly addresses the conditions of confinement in the CCU, as

      well as the alleged lack of opportunities for release to the general population.

10.   28 U.S.C. § 1404(a) provides that:

            For the convenience of parties and witnesses, in the
            interest of justice, a district court may transfer any civil
            action to any other district or division where it might
            have been brought or to any district or division to which
            all parties have consented.

11.   The interest of justice would be served by transferring this case to the Middle

      District so that these numerous cases can be consolidated due to their

      identical nature and litigated in conjunction with an active class action of

      which the plaintiffs are already part.

12.   Consolidating and litigating these identical cases in the same forum, where

      the most-appropriate jurisdiction lies and an active class-action already




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      exists, is the most effective and efficient way to resolve these dozens of cases

      for both the parties and the Court.

13.   This motion is not made for a dilatory purpose or any other improper reason.

14.   It is averred that no prejudice will befall any party if this motion is granted

      and the matter is transferred to the Middle District for consolidation and

      continued litigation.

      WHEREFORE, the Defendants respectfully request that the Court grant

their motion to transfer venue to the Middle District.

                                       Respectfully submitted,
                                       Office of General Counsel




                                       Joseph G. Fulginiti, Assistant Counsel
                                       Attorney ID No.: 208039
                                       Pennsylvania Department of Corrections
                                       1920 Technology Parkway
                                       Mechanicsburg, PA 17050
                                       Phone No.: (717) 728-7763
                                       Fax No.: (717) 728-0307
                                       E-mail: josfulgini@pa.gov

Date: December 15, 2021




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            Defendants                   :   Filed Via Electronic Case Filing

                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing filing was served upon the individual

indicated below by First Class Mail, addressed as follows:

Smart Communications/PA DOC
Jose Busanet, DX-0422
SCI-Phoenix
PO Box 33028
St. Petersburg, FL 33733

Chief Judge Juan R. Sanchez
Chambers_of_Chief_Judge_Sanchez@paed.us.courts.gov
(Service by e-mail)




                                      Angela Basehore
                                      Legal Assistant
                                      Pennsylvania Department of Corrections
                                      1920 Technology Parkway
                                      Mechanicsburg, PA 17050
                                      Phone No.: (717) 728-7763

Date: December 15, 2021
